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IN THE UNITED sTATEs DISTRICT coURT ,,_.` . _ _.
FOR THE wEsTERN DISTRICT oF TENNESSEE 55 2{ PN[Z' ‘*'

wEsTERN DIVISION
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CHICAGO INSURANCE COMPANY,
Plaintiff,

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v. ) No. 03-2337 Ma/A
)

DHS/Diversified Health )
Services, Inc., general )
partner of BEP SERVICES, L.P.,)
formerly known as )
SERVICEMASTER DIVERSIFIED )
HEALTH SERVICES, L . P . , )
)

)

Defendant.

 

ORDER ON MOTIONS FOR SUM]\!LARY JUDGMEN'I'

 

Before the court are the motion for summary judgment filed by
Plaintiff Chicago Insurance Company (“Chicago”) and the cross
motion for summary judgment, or alternatively for stay, of
Defendant/Third-Party Plaintiff DHS/Diversified Health Services,
Inc., general partner of BEP Services, L.P., formerly known as
Service Master Diversified Health Services, L.P. {“BEP”}. Chicago
filed its motion on January 18, 2005; BEP and third-party Defendant
Marsh USA, Inc. (“Marsh”) responded on March 18, 2005. BEP filed
its cross motion on March 18, 2005, and Chicago responded on April
18, 2005. For the following reasons, Chicago’s motion is GRANTED,

and BEP's motion is DENIED.

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I. Background

This declaratory judgment action arises from Chicago's claim
that certain nursing home facilities owned by BEP are not covered
under insurance policies issued by Chicago. Chicago is an Illinois
company with its principal place of business in Chicago, Illinois.
(Compl. at I 5.) DHS/Diversified Health Services, Inc. (“DHS”) is
a Delaware corporation with its principal place of business in
Germantown, Tennessee. (ld; at q 6.) BEP is a Tennessee limited
partnership with its principal place of business in Memphis,
Tennessee. (ld;) DHS is a general partner of BEP (BEP was formerly
known as ServiceMaster Diversified Health Services, L.P.). (ld;)

BEP operates a number of nursing home facilities. (Def.’s Mot.

at 2.) To decrease its risk, BEP purchased several insurance
policies. {Id. at l.) BEP purchased its primary insurance from

CIGNA and CNA for the policy years 1997-1998, 1998-1999 and 1999-
2000. (Def.'s Stat. of Facts 1 4.) BEP also purchased excess
policies from Chicago for those years, which indemnified BEP for
liability accrued in excess of the policy limits of the primary
insurance. (Compl. at q 7.) The primary coverage was limited to $l
million per claim, with an aggregate limit of $3 million dollars
per location. (;d;) The excess policy was for $25 million per
occurrence and aggregate and contained a clause requiring BEP to
maintain the primary coverage of $l million per claim with an

aggregate limit of $3 million per location. {Compl. at F 7.)

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At least four lawsuits have been filed against BEP based on
incidents that allegedly occurred in its nursing home facilities.
(Def.’s Stat. of Facts ij 1-2, 23.) At least three of those

lawsuits involve the Shelby County Oakville Healthcare Center in

Shelby County, Tennessee {“Oakville”) or the Shelby County
Healthcare Center (“the Mullins Station Road facility”). (Id. j

23.) On February' 5, 2003, an adjuster working on behalf of
Transportation Insurance informed Chicago that the aggregate limits
of the primary' policy' had been met.l (Compl. at Ex. G.) The
adjuster incorrectly read the policy limits as $3 million in the
aggregate for all locations rather than $3 million in the aggregate
per location. (Def.’s Stat. of Facts j 22.)

In the course of its investigation, Chicago discovered that
neither Oakville nor the Mullins Station Road facility had been
listed as a designated premises on the excess policies. (Compl. at
j 9.) The excess policies at issue provide: “This policy applies
solely to claims arising out of the ownership, maintenance, or use
by the ‘Named Insured,’ of the ‘Designated Premises' and operations
necessary and incidental thereto.” (Compl. at Ex. C; hereinafter
“the Designated Premises Endorsement.”)” This provision appears
under the heading “Designated Premises” and state that “this

endorsement changes the policy. Please read it carefully.” (Id.)

 

l Chicago was actually informed sometime before that date by telephone.
(Compl. at Ex. G.) The record does not indicate the date of that conversation,
but a confirmatory letter was sent on February 5, 2003. (Id.)

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Neither Oakville nor the Mullins Station Road facility appears on
the list of Designated Premises. Chicago seeks a declaratory
judgment that, based on this language, Chicago has no duty to
defend suits brought against Oakville or the Mullins Station Road
facility or to indemnify BEP for any losses above the primary
coverage limits at those facilities. (Compl. at j 26~30.}

BEP claims that there is no actual case or controversy before
the court and that the disputed facilities are within the scope of
the policy's coverage.

II. Jurisdiction

The parties to this action are diverse, and the amount in
controversy is greater than $75,000. If there is a ripe case or
controversy, the court has jurisdiction under 28 U.S.C. § 1332.

The court decided that this declaratory judgment action
presented a case or controversy when it denied BEP’s motion to
dismiss on November 6, 2003. BEP has not cited any new facts or
law that would merit reconsideration of that decision. BEP argues
that the original claims giving rise to this case have been
resolved without exceeding the underlying policy limits and that
there is no longer any controversy about the question of excess
coverage. BEP also states, however, that other pending claims
arise from Oakville and the Mullins State Road facility, which are
at the center of the coverage dispute. Thus, the question of

excess coverage remains live, although_ BEP's primary' coverage

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limits have not yet been exhausted.

“Since its inception, the Declaratory Judgment Act has been
understood to confer on federal courts unique and substantial
discretion in deciding whether to declare the rights of litigants.”
Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995). Although BEP
claims that it has not yet made demand on Chicago to defend or
indemnify it, BEP contends that Chicago is liable under the
secondary coverage policy for pending claims arising from Oakville
and the Mullins State Road facility. As explained in the court's
prior order, courts within the Sixth Circuit regularly entertain
declaratory judgment actions by insurers seeking declarations, upon
the filing of suit against the insured, that they have no duty to
defend or indemnify the insured under the policy issued. §§§l_eég;y
Northland Ins. Co. v. Stewart Title Guar. Co., 327 F.Bd 448 (Gth
Cir. 2003) (approving district court's holding that insurer had no
duty to defend where theories of recovery not covered by policy);
Aetna Cas. & Sur. Co. v. Sunshine Corp., 74 F.3d 685 (6th Cir.
1996) (approving district court's holding that policy exclusion for
willful conduct excused insurer's duty to defend).

“It is well settled that jurisdiction to grant relief under
the Declaratory Judgment Act, 28 U.S.C. 2201, _; §§g;, is
discretionary.” Aetna Cas. & Sur. Co., 74 F.3d at 687. In deciding
whether to entertain a declaratory judgment action, courts

generally consider 1) whether a judgment would settle the

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controversy; 2) whether the declaratory judgment action would serve
a useful purpose in clarifying the legal relations of the parties,
3) whether the declaratory remedy is being used merely for
“procedural fencing” or “to provide an arena for a race for res
judicata,” 4) whether the use of a declaratory judgment action
would increase the friction between our federal and state courts
and improperly encroach on state jurisdiction, and 5) whether there
is an alternative remedy that is more effective or better.
Northland Ins., 327 F.3d at 453; Scottsdale Ins. Co. v. Roumph, 211
F.3d 964, 968 (6th Cir. 2000).

As to the first two factors, although declaratory judgment
would not settle the underlying claims against BEP, “it would
settle the controversy regarding the scope of insurance coverage”
between Chicago and BEP. Northland Ins., 327 F.3d at 454. “A
prompt declaration of policy coverage would surely serve the useful
purpose in clarifying the legal relations at issue.” id4 (quoting
Roumph, 211 F.3d at 968.

As in Northland, Chicago “filed this action only after it

 

became apparent that its insured[] had no colorable clainl to
coverage or a defense,” and it should not be forced to participate
in state actions when it has no duty to defend those actions. ld¢
Because Chicago is not a party to the state court actions, it will
not be bound by the state courts’ decisions, so there is no “race

for res judicata.” Id. Thus, the third factor also weighs in favor

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of entertaining a declaratory judgment action.

ln determining whether exercising declaratory judgment
jurisdiction would increase friction between federal and state
courts, a district court is to consider 1) whether the underlying
factual issues are important to an informed resolution of the case,
2) whether the state trial court is i11 a better position to
evaluate those factual issues than is the federal court, and 3)
whether there is a close nexus between the underlying factual and
legal issues and state law and/or public policy; or whether federal
common or statutory law dictates resolution of the declaratory
action. ld; (citing Roumph, 211 F.3d at 968). Chicago is not a
party to the pending state actions, and “neither the scope of
insurance coverage nor the obligation to defend [is] before the
state court” in those actions. ld; Thus, this dispute does not
depend on the resolution of any factual issues in state court.
Further, because this court must apply the choicewof-law rules of
Tennessee, the same state in which the underlying claims against
BEP are pending, no state law or policy would be frustrated by this
court's exercise of jurisdiction. §e§ id;

Finally, Chicago’s alternative remedies are to wait
indefinitely to be sued by BEP under the policies or to intervene
in the pending state actions, which it claims no obligation to
defend. As in Northland, “intervening in the state court action

would not necessarily have provided a better or more effective

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alternative remedy.” ldg

All five factors weigh in favor of exercising jurisdiction.
III. Legal Standard

The party moving for summary judgment “bears the burden of
clearly' and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. hinden-Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. See Street v. J.C.
Bradford & CO., 886 F.2d 1472, l4'79 (Gth Cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Libertv Lobbv,
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material factsl' Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere

reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.

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317, 324 (1986). Insteady the nonmoving party' must present
“concrete evidence supporting its claims.” Cloverdale Equip. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such
evidence. See InterRoval Corp. v. Sponseller, 889 F.2d 108, 110-11
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. §§§ id;
IV. Applicable Law

Tennessee law applies to a policy coverage dispute between an
insured citizen of Tennessee and an insurer licensed to do business
in Tennessee. First Am. Nat'l Bank v. Fidelitv & Deposit Co. of
Maryland, 5 F.3d 982 (6th Cir. 1993)(citing Tenn. Code Ann. § 56-7-
102). Further, both. parties rely' on *Tennessee law for their
arguments about the scope of policy coverage. Persuasive authority
suggests that the parties' reliance weighs in favor of applying
Tennessee law. See Massachusetts Bay Ins. Co. v. Vic Koenig
Leasingl Inc., 136 F.3d 1116, 1120 (7th Cir. 1998)(“a federal court
should apply the law of the forum state where the parties have not
identified a conflict between two bodies of state law which might
apply to their case”); Crown Foodservice Group, Inc. v. Hughes,
1999 WL 3311'7269, at *4, FN 5 (S.D. OhiO 1999) (Citing EChOc lnC. v.
Whitson Co. Inc., 52 F.3d 702, 707 (7th Cir. 1995)). Therefore,

the court will interpret the parties' insurance policy according to

Tennessee law.

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V. Chicago's Motion

Chicago argues that it is entitled to summary judgment because
the policy unambiguously excludes claims arising from Oakville and
the Mullins State Road facility. BEP argues that the contract
terms in question are ambiguous and that further evidence is
required to discern whether the policy covers the disputed claims.
Because the interpretation of an insurance contract is largely an
issue of law, a dispute over' coverage is usually' amenable to
resolution by summary judgment. See Corrington v. Eguitable Life
Assurace Soc'v of the United States, 265 F. Supp. 2d 905, 909 (W.D.
Tenn. 2003). An insurance policy is a contract and, like any other
contract, should be interpreted according to its terms. gayidsgn
Hotel Co. v. St, Paul Fire & Marine Ins. Co., 136 F. Supp. 2d 901,
905 (W.D. Tenn. 2001). “[W]hen the factual issues are not in
dispute, the legal issues regarding a policy's coverage may be
resolved by summary judgment.” Merrimack Mutual Fire Ins. Co. v.

BattS, 59 S.W.3d 142, 148 (Tenn. Ct. App. 2001).

 

In Tennessee, insurance contracts are construed against the
insurer. See Tenn. Farmers Mutual Ins. Co. v. Witt, 857 S.W.Zd 26,
29 (Tenn. 1993). The court should give words in the contract their
common and ordinary meaning, but resolve all doubts and ambiguities
in favor of the insured. Harrell v. Minn. Mut. Life Ins. Co., 937
S.W.2d 809, 814 (Tenn. 1996). The insurance contract should be
construed so as to provide coverage if possible. Alcazar v. Hayes,
982 S.W.2d 845, 852 (Tenn. 1998). The goal in interpreting

insurance contracts, however, as in interpreting any other

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contract, is to give effect to the intentions of the parties.

Harrell, 937 S.W.2d at 852.

The excess policies at issue are “follow form” policies,
meaning that they largely incorporate the terms of the underlying
primary policies, unless those terms “are inconsistent with
provisions of [the excess] polic[ies]. (Chicago Mot. Ex. 3(c).)
The primary policies, however, do not have a designated premises
exclusion. BEP argues that this deviation of the excess policies
from the terms of the primary policies renders the Designated
Premises Endorsement ambiguous. lt is not uncommon, however, for
follow-form excess policies to contain specific exclusions not
present in the underlying primary policies. Seec e.g., GenCorpl
Inc. v, American Intern Underwriters, 178 F.3d 804, 820 (6th Cir.
1999}(applying Ohio law and finding endorsements to follow form
policy “unambiguous”). The mere fact that a “follow form” policy
contains endorsements that narrow its coverage from that of the
underlying policy does not mean that those endorsements are

ambiguous.

BEP argues further that specific contractual language in the
excess policies contradicts the Designated Premises Endorsement.
The Schedule of Primary Insurance provided by Chicago states that
coverage is provided. for “All Premises and Operations of the
Insured.” (Chicago Mot. Ex. 3(b).) This provision, however,
appears merely to indicate, for Chicago’s recordpkeeping purposes,
the extent of coverage provided by primary carriers Cigna and CNA.

It does not indicate the extent of coverage of Chicago’s excess

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policies. Even if this language were a ternl of the excess
policies, it would constitute a general coverage term from which
the Designated Premises Endorsement provides a specific exclusion.
There would still be no ambiguity necessitating the introduction of
parol evidence. See, e.g., Jones v. Brooks, 696 S.W.2d 885, 886

(Tenn. 1985).

The Designated Premises Endorsement provides that the “policy
applies solely to claims arising out of the ownership, maintenance,
or use by the Named Insured, of the “Designated Premises” and
operations necessary or incidental thereto.” BEP does not argue
that either Oakville or the Mullins Station Road facility is on the
list of “Designated Premises.” (BEP Resp. at 12.) Instead, BEP
argues that it did not own, maintain, or use those two facilities,
but merely provided management personnel. BEP contends, therefore,
that the limitation of coverage provided by the Designated Premises
Endorsement does not apply to those two facilities and that they

are covered under the more general follow-form provisions.

This argument turns the clear meaning of the Designated
Premises Endorsement on its head. If, in fact, BEP did not own,
maintain, or use Oakville or the Mullins Station Road facility, the
Designated Premises Endorsement would exclude those facilities from
coverage on two independent grounds: 1) they are not listed as
Designated Premises, and 2) BEP has not engaged in the “ownership,
maintenance, or use” of those facilities necessary to support a

covered claim.

The meaning of the Designated Premises Endorsement is

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unambiguous. Claims arising from facilities that are not on the
list of designated premises are not covered by the excess policies.
Thus, there is no genuine issue of material fact that would
preclude summary judgment in favor of Chicago on the scope of

coverage of the excess policies.
VI. BEP's Motion

BEP moves for summary judgment on the ground that there is no
case or controversy. The court has addressed this issue above and
found that a ripe controversy exists. Therefore, BEP’s motion is

DENIED.
VII. Conclusion

For the foregoing reasons, the court GRANTS the Plaintiff’s
motion for summary judgment on the scope of coverage under the
written excess policies and DENIES the Defendant’s cross motion for

summary judgment or alternatively for stay of the proceedings.

so ORDERED this T\si’ day of April 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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.1 ohn D. Richardson

THE RICHARDSON LAW FIRM
119 S. Main St.

Ste. 725

1\/1emphis7 TN 38103

Amy E. Ferguson
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 effrey A. Goldwater

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Vincent P. Tomkiewicz

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661

Robert A. McLean

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

